                                 IN THE
                         TENTH COURT OF APPEALS

                                No. 10-24-00242-CR

JEREMY ADAM MANGUM,
                                                          Appellant
v.

THE STATE OF TEXAS,
                                                          Appellee



                     From the County Court at Law No. 2
                            Brazos County, Texas
                     Trial Court No. 24-01317-CRM-CCL2


                          MEMORANDUM OPINION

      Jeremy Mangum appeals from the trial court’s judgment, signed June 27, 2024;

however, the trial court’s certification of his right of appeal, which Mangum and his

counsel signed, indicates that this is a plea-bargain case and that Mangum has no right

of appeal and that Mangum has waived his right of appeal. Accordingly, this appeal

must be dismissed. See TEX. R. APP. P. 25.2(d) (“The appeal must be dismissed if a

certification that shows the defendant has the right of appeal has not been made part of

the record under these rules.”); Chavez v. State, 183 S.W.3d 675, 680 (Tex. Crim. App.
2006) (plea bargain); Monreal v. State, 99 S.W.3d 615, 622 (Tex. Crim. App. 2003) (waiver

of appeal).

       Notwithstanding that we are dismissing this appeal, Mangum may file a motion

for rehearing with this Court within 15 days after this opinion and judgment are

rendered if he believes this opinion and judgment are erroneously based on inaccurate

information or documents. See TEX. R. APP. P. 49.1. Moreover, if Mangum desires to

have the opinion and judgment of this Court reviewed by filing a petition for

discretionary review, that petition must be filed with the Court of Criminal Appeals

within 30 days after either the day this Court’s judgment is rendered or the day the last

timely motion for rehearing is overruled by this Court. See id. R. 68.2(a).

       For the reasons stated, this appeal is dismissed.




                                                 MATT JOHNSON
                                                 Justice

Before Chief Justice Gray,
       Justice Johnson, and
       Justice Smith
Appeal dismissed
Opinion delivered and filed August 8, 2024
Do not publish
[CR25]




Mangum v. State                                                                    Page 2
